Case 2:10-£v- O98 88-CIB-JCW Document 85350 Filed 04/20/11 Page 1 of 3
© Qa 9

oRResD:10, d79-CJ8-SS Document.983-3 Filed 01/12/11 Page 1 of 3
oe eo IN-REY OIL SPILL by “Deepwater Horizon”

("neg DIRECT FILING SHORT FORM

. OXatheHzed by Order of the Court, Civil Action No, 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8688 and 10-2771)

JUDGE CARL BARBIER
ieee
ne

; SY) a DEA a or cee) Sa ta
Nt aaa! ee i rhe Pa VI ero et ate Eo el ae ae 7 :

By submitting this doc im In Complaint and Petition of Triton Asset Leasing GmbH, et
ai., No. 10-2771; adopt and Incorporate the Master Anewer (Rec, Dos. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et a/., in No. 40-2771: and/or Intervene into, Joln and otherwise adopt the Master Complaint
(Rec. Doc, 879] for private economic tosses (“Bt Bundie") fited In MDL No. 2179 (10 md 2179); and/or intervens
Into, join and otherwise adopt the Master Complaint [Rec. Doc. 881) for post-explosion injuries ("83 Bundle”)

filed in MOL No. 2179 (10 md 2178).
meoe rer Middia Name/Malkien |
NA —

Last N

Foe 5-33] KAS... (REAM |

swiped Tele L

INDIVIDUAL CLAIM - “BAAINESS-CLAIM 'S 3 ee 4

[Ener Nome > 3 z\\ ca Business Name

Job Title / Description Di sal\ ed ) ” - Typ of Gunoas Of . —

Addreea e.0- Box SeS Address YL Tn _

Cry aa 20, tT s\c Dy 035%. ty Se 176 ~~ LS —

Lasts digits of your Social Securlty Number Last 4 dighs of your Tax iD Nuafiper

= 7 he Mediatnes © P

City / St -) ¢ Be . BHSS
# LS ae c) OC

‘Mall Address

9 ). Sts,
Giaim filed whh BF? yes O no 0 Clem Flied wih Gecr7; YES (] no 1)
tryas, BP Claim No. If yes, Glalnant identification Ne.:

Type (Please check. all that apply:

Damage or destruction to real of personal property Fear of Future Injury andor Madical Monitoring
Eaminge/Frofit Loss Lose of Subslatence une of Natural Resources
Personat Injury/Deaih Removal and/or Gaanup costs

i

4 This form should be Med with the U5. District Court for the Eastern District of Louisiana in New Origans, Louislane in Gril Action No. 10-8888. While this Direct
Filing Shart Form |s t6 be fliad In CA No, 10-6988, by prior erder of tha Court, (Rec. Doc. 246, C.A. No, 10-2775 and Rec. Doc, 982 in MDL 2479}, the fillng of this form
In LA, NO. 10-2888 shall be deemed to be simultaneously filed In CA, 10-2772 and MOL 2179, Plaintiff Liaison Counsel, after being notified electronically by the Gerk
of Court of the fillng of this Short Form, shell promptly serve this form through tha Lewis Nexis cervice system on Defense Liaison.

. 4

The fling of this Direct Fiiing Short Form shall atoo serve in Heu of ihe requirament of @ PlaintiT co fite a Plaintiff Profile Form.

Case 2:10-Cv-08888-CJB-JCW Document 85350 Filed 04/20/11 Page 2 of 3

> Case 2:10-md-02179-CJB-SS Document 983-3 Filed 01/12/11 Page 2 of 3

‘Brief Description:

4. For samings/profit oss, property damage and loss of subsistence uce cteins, describe the neture of the injury. For claime
involving real estate/property, include the property location, type of praperty {realdential’commerciai), and wheiher physical
damage occurred. For claims relating to fishing of any type, Includa the type and loastion of fishing grounda at iaaue.

Wie are. vnalle to cot Whe seafood o¢
<e < £00. 2 e eollub lou
Ahe Oi\ and Coeexi®, yne drspecsan, wick ik
Apxic. porsonoes ye humans_and ut <a) Le Pyl\_mavine
Vike ad all pildlife on ‘tre sslends Weve been engosed.
XX cannot lave tH ma _howse ar work. rm \usiness
beauxe of the sacumv\aion of & el and qoisnes focextt

t

tye tama m™

mM ONSET \e: Thare MVC
f miaglAines ONS rl SS & coordination mblina
*
Cd STACY rin) a ‘ o p “ +1, La | \y Jy vt ‘ bAL, Ode
LirdeS her cuek, TAUIICe, Anxichy depression [sent
3, “tor postexpiosion claims related to reup for remeval, include your role in the c a dnaup Wvities, tha name of your

employer. and where you were working.
‘ ot
Coeere in whe naebes.Saragg™ ere 1s _more abl and

remour, Se oil and coven’ Lom he jaside

wg epee et

fy €.0 nes ric Dtori ' é. Wt’ \ne ne SAMA fre

2 For personal injury claims, describe the injury, how and when it waa suetuin eons eoke all health care providers a
employers 2006 to prosent and complete authorization forms for each. wr,

ein tema nope a
eed abet

mis-

car fares;

Vole!
1

onan Th »)\ pers cle

Ane. LS Stee wore AS
be gnoes and on ing ons a hak is US
Form

The filing of this Direct Fiting Si aN algo serve in ted of the ant of a Ptaln to fie a Pieintit Profile Form.
Case 2:10-cv-08888-CJB-JCW Document 85350 Filed 04/20/11 Page 3 of 3

. ” Base 2:10-md-02179-CUB-SS Document 963-3 Filed 01/12/11 Page 3 of 3

Please chock the box(es) balow that

3 i] id

you t
nd P

hink apply to you and your claims:

ae

Gommercial figherman, shrimper, crabber, or oysierman, of tha owner and operator of a business laveling fishing, shrimping,
grabbing or oysiering,

Sasteod processor, distributor, retall ané seafood martni, or restaurant owner and operator, of an empicyee thereof.

Recreational businacs owner, oparator or worker, Including a recreational fishing business, commercial quide service, or charter
fishing businass who eam thelr living throuph the use of the Gulf of Mexita.

xi

2

3

ae Gommarcial business, business ownar, operator or worker, Inciuding commercial divers, offahore olifeld service, repair anc
supply. real estate agents, and supply companies, or en employes thereof.

XG Recreational sport fishermen, recreational: giver, beachgosr, af recreational boater.
a Plant and dock worker, Including commercial seafood plant warkar, longshoreman. of ferry operator.
;

Owner, ‘sseor, of lessee of real propesty alleged to ba damaged, harmed or impacted, physically or economically, induding
lessaes of oyster beds,

ee. Hotel owner and aperstor, vacation rental owner and agent, or a nose who @arn Mair living from the touriam Indusiry,
xe, Bank, financial Inetitution, or ratall business that suffered iosaee as a rosutt of the split

4. Boat ceptaln or crow involved in the Vesdala of Opportunity program.
2. Worker involved in decontaminating veseéla that cama into contact with ofl and/or chemical dispersante.

3. Vexent captain of craw who was nt involved In tha Vessels of Opportunity program Sut wha ware exposed to harmful chemicals,
odors and emissions during post-explosion cleat-up activities.

Ks Clean-up workor or beach parsannel involved In clean-up activillas along shorelines and Intercosetal and Intertidal zones,

6, Resident wi lives or works in clone proximity to constal weters.
& ce o \i nS SA , goes te church ard)

|
Both BP and the Gulf Coast Clalms Facility ((GCCF") are hereby authorized to release to ihe Defendanta In MDI
9179 all information end documents submitted by above-named Plaintiff and Information regarding the status of any
payment on the claim, subject to such information being trea.ad as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full coples of same being made avaliable to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant of Aitoeney-Gigriatvraamn
Bevecly Poankund
Print Name

“Data

Boel 4 ,201|

: The filing of this Direct Fillng Short Form shail gleo serve in Hau of tre requirement of # Plaintiff to file a Plaindff Profiie Form.

